     Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 1 of 9



Jan L. Westfall (SBN 241106)
29896 Blue Water Way
Menifee, CA 92584
Tel: 619-940-2880
Email: jlwestfall.esq@gmail.com

Attorney for Objector Donnie Clifton


              IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                       SAN FRANCISCO DIVISION



IN RE: CATHODE RAY TUBE (CRT) Master File No. CV-07-5944-SC
ANTITRUST LITIGATION
                              MDL No. 1917
________________________________
This Document Relates to:        NOTICE OF APPEAL AND
                                 REPRESENTATION
ALL INDIRECT PURCHASER           STATEMENT
ACTIONS
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 2 of 9



                            NOTICE OF APPEAL
      Notice is hereby given that Objector Donnie Clifton hereby appeals to the
United States Court of Appeals for the Ninth Circuit from (1) the Order
Granting Final Approval of Indirect Purchaser Settlements entered in this action
on July 7, 2016 (ECF No. 4712), a copy of which is attached hereto as Exhibit
1; (2) the Final Judgment of Dismissal with Prejudice as to the Philips,
Panasonic, Hitachi, Toshiba, Samsung SDI, Thomson and TDA Defendants
entered in this action on July 14, 2016 (ECF No. 4717), a copy of which is
attached hereto as Exhibit 2; and (3) the Order on Attorneys’ Fees, Expenses,
and Incentive Awards Re: Indirect Purchaser Plaintiff Settlements entered in
this action on August 3, 2016 (ECF No. 4740), a copy of which is attached
hereto as Exhibit 3.

Dated: August 4, 2016                 Respectfully submitted,


                                      /s/ Jan L. Westfall
                                      Jan L. Westfall, Esq.

                                      Counsel for Objector Donnie Clifton




Notice of Appeal                     Page 2                            MDL 1917
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 3 of 9



                   REPRESENTATION STATEMENT
      The undersigned represents Objector-Appellant Donnie Clifton
(“Objector-Appellant Clifton”) and no other party. Objector-Appellant Clifton
submits this Representation Statement pursuant to Rule 12(b) of the Federal
Rules of Appellate Procedure and Ninth Circuit Rule 3-2(b). The following
abbreviated list identifies the parties to the Indirect Purchaser Litigation, along
with the names, addresses and telephone numbers of their respective counsel.
In the interests of judicial economy, individual representative plaintiffs (and
their counsel) are not listed and reference is made to the District Court’s docket
for a complete list of parties and counsel.1 Request is respectfully made in
advance for leave to amend this Representation Statement if a more detailed list
is required by the Court.



            Parties                              Counsel of Record

Lead Counsel for Indirect        Mario N. Alioto (56433)
Purchaser Plaintiffs              (Email: malioto@tatp.com)
                                 Lauren C. Capurro (241151)
                                  (Email: laurenrussell@tatp.com)
                                 TRUMP, ALIOTO, TRUMP & PRESCOTT
                                 LLP
                                 2280 Union Street
                                 San Francisco, CA 94123
                                 Telephone: (415) 563-7200
                                 Facsimile: (415) 346-0679

Defendants Toshiba               Christopher M. Curran (pro hac vice)
Corporation, Toshiba              (Email: ccurran@whitecase.com)
America, Inc., Toshiba           Lucius B. Lau (pro hac vice)
America Information               (Email: alau@whitecase.com)
Systems, Inc., Toshiba           Dana E. Foster (pro hac vice)
America Consumer Products,        (Email: defoster@whitecase.com)
L.L.C., and Toshiba America      WHITE & CASE LLP
Electronic Components, Inc.      701 Thirteenth Street, N.W.
                                 Washington, DC 20005
1
 The list of parties and counsel filed as Exhibit 3 to ECF No. 4744 (Dkt. No.
4744-3) is also incorporated by reference but not refiled.

Notice of Appeal                       Page 3                             MDL 1917
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 4 of 9



                                  Telephone: (202) 626-3600
                                  Facsimile: (202) 639-9355

Defendants Samsung SDI            Gary L. Halling (66087)
Co., Ltd., Samsung SDI             (Email: ghalling@sheppardmullin.com)
America, Inc., Samsung SDI        James L. Mcginnis (95788)
(Malaysia) SDN. BHD.,              (Email: jmcginnis@sheppardmullin.com)
Samsung SDI Mexico S.A.de         Michael W. Scarborough (203524)
C.V., Samsung SDI Brasil           (Email: mscarborough@sheppardmullin.com)
Ltda., Shenzen Samsung SDI        SHEPPARD MULLIN RICHTER &
Co., Ltd., and Tianjin            HAMPTON
Samsung SDI Co., Ltd.             Four Embarcadero Center, 17th Floor
                                  San Francisco, CA 94111
                                  Telephone: (415) 434-9100
                                  Facsimile: (415) 434-3947

Defendants Hitachi, Ltd.,         Eliot A. Adelson
Hitachi Displays, Ltd. (n/k/a      (Email: eadelson@kirkland.com)
Japan Display Inc.), Hitachi      James Maxwell Cooper
America, Ltd., Hitachi Asia,       (Email: max.cooper@kirkland.com)
Ltd., and Hitachi Electronic      KIRKLAND & ELLIS LLP
Devices (USA), Inc.               555 California Street, 27th Floor
                                  San Francisco, CA 94104
                                  Telephone: (415) 439-1400
                                  Facsimile: (415) 439-1500

                                  James H. Mutchnik, P.C. (pro hac vice)
                                   (Email: james.mutchnik @kirkland.com)
                                  Barack S. Echols (pro hac vice)
                                   (Email: barack.echols@kirkland.com)
                                  KIRKLAND & ELLIS LLP
                                  300 North LaSalle
                                  Chicago, Illinois 60654
                                  Telephone: (312) 862-2000
                                  Facsimile: (312) 862-2200

Defendants Panasonic              Jeffrey L. Kessler (pro hac vice)
Corporation (f/k/a Matsushita      (Email: jkessler@winston.com)
Electric Industrial Co., Ltd.),   A. Paul Victor (pro hac vice)
Panasonic Corporation of          Aldo A. Badini (257086)
North America, and MT             Eva W. Cole (pro hac vice)
Picture Display Co., Ltd.         Molly M. Donovan (pro hac vice)
                                  WINSTON & STRAWN LLP
                                  200 Park Avenue

Notice of Appeal                       Page 4                         MDL 1917
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 5 of 9



                                 New York, NY 10166-4193
                                 Telephone: (212) 294-6700
                                 Facsimile: (212) 294-4700

                                 David L. Yohai (pro hac vice)
                                  (Email: david.yohai@weil.com)
                                 Adam C. Hemlock (pro hac vice)
                                 WEIL, GOTSHAL & MANGES LLP
                                 767 Fifth Avenue
                                 New York, NY 10153-0119
                                 Telephone: (212) 310-8000
                                 Facsimile: (212) 310-8007

Defendants Philips               John M. Taladay
Koninklijke N.V., Philips         (Email: john.taladay@bakerbotts.com)
Electronics North America        Erik T. Koons
Corporation, Philips Taiwan      BAKER BOTTS LLP
Limited, and Philips do Brasil   1299 Pennsylvania Ave., N.W.
Ltda.                            Washington, D.C. 20004
                                 Telephone: (202) 639-7909
                                 Facsimile: (202) 585-1086

Defendants Thomson               Kathy L. Osborn (pro hac vice)
Consumer Electronics, Inc.        (Email: kathy.osborn@FaegreBD.com)
and Thomson SA                   Ryan M. Hurley (pro hac vice)
                                  (Email: ryan.hurley@FaegreBD.com)
                                 FAEGRE BAKER DANIELS LLP
                                 300 N. Meridian Street, Suite 2700
                                 Indianapolis, IN 46204
                                 Telephone: (317) 237-0300
                                 Facsimile: (317) 237-1000

Objector Donnie G. Clifton       Jan L. Westfall (241106)
                                  (Email: jlwestfall.esq@gmail.com)
                                 Law Offices of Jan L. Westfall
                                 29896 Blue Water Way
                                 Menifee, CA 92584
                                 Telephone: (619) 940-2880

Objector Douglas W. St. John Andrea Valdez (239082)
                              (Email: andrea.valdez.esq@gmail.com)
                             530 S. Lake Avenue, No. 574
                             Pasadena, CA 91101
                             Telephone: (626) 817-6547
Notice of Appeal                      Page 5                          MDL 1917
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 6 of 9




                             Joseph Scott St. John (pro hac vice)
                              (Email: jscottstjohnpublic@gmail.com)
                             514 Mockingbird Drive
                             Long Beach, MS 39560
                             Telephone: 410-212-3475

Objectors John Finn and      Steve A. Miller (171815)
Laura Townsend Fortman        (Email: sampc01@gmail.com)
                             Steve A. Miller, PC
                             1625 Larimer Street, No. 2905
                             Denver, CO 80202
                             Telephone: 303-892-9933
                             Facsimile: 303-892-8925

                             Jonathan E. Fortman (40319MO)
                              (Email: jef@fortmanlaw.com)
                             Law Office of Jonathan E. Fortman, LLC
                             250 St. Catherine Street
                             Florissant, MO 63031
                             Telephone: (314) 522-2312
                             Facsimile: (314) 524-1519

                             John C. Kress
                              (Email: jckress@thekresslawfirm.com )
                             The Kress Law Firm, LLC
                             4247 S. Grand Blvd
                             St. Louis, MO 63111
                             Telephone: (314) 631-3883
                             Facsimile: (314) 332-1534

Class Member Eleanor Lewis Francis O. Scarpulla (41059)
(and Indirect Purchaser     (Email: fos@scarpullalaw.com)
Plaintiffs)                Patrick B. Clayton (240191)
                           Law Offices Of Francis O. Scarpulla
                           456 Montgomery Street, 17th Floor
                           San Francisco, CA 94104
                           Telephone: (415) 788-7210
                           Facsimile: (415) 788-0706

                             Josef D. Cooper (53015)
                              (Email: jdc@coopkirk.com)
                             Tracy R. Kirkham (69912)
                             John D. Bogdonov (215830)

Notice of Appeal                  Page 6                         MDL 1917
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 7 of 9



                                 Cooper & Kirkham, P.C.
                                 357 Tehama Street, Second Floor
                                 San Francisco, CA 94105
                                 Telephone: (415) 788-3030
                                 Facsimile: (415) 882-7040

Objectors Anthony Gianasca,      Robert J. Bonsignore, Esq.
Rosemary Ciccone, Jeff            (Email: rbonsignore@classactions.us)
Craig, Gloria Comeaux,           BONSIGNORE TRIAL LAWYERS, PLLC
Jeffrey Speaect, Estate of the   3771 Meadowcrest Drive
Late R. Deryl Edwards, Jr.       Las Vegas, NV 89121
                                 Telephone: 781-856-7650

Objector Jose Saik               George W. Cochran
                                 Email: lawchrist@gmail.com
                                 1385 Russell Drive
                                 Streetsboro, Ohio 44241
                                 Telephone: 330.626.5600
                                 Facsimile: 330.230.6136

Objector Sean Hull               Timothy R. Hanigan (125791)
                                  (Email: trhanigan@gmail.com)
                                 LANG, HANIGAN & CARVALHO, LLP
                                 21550 Oxnard Street, Suite 760
                                 Woodland Hills, California 91367
                                 Telephone: (818) 883-5644

Objector                         Paul B. Justi (124727)
Dan L. Williams & Co.             (Email: pbjusti@comcast.net)
                                 LAW OFFICES OF PAUL B. JUSTI
                                 1981 North Broadway, Suite 250
                                 Walnut Creek, CA 94596
                                 Telephone: (925)256-7900
                                 Facsimile: (925) 256-9204

Objectors Rockhurst              Theresa D. Moore (99978)
University, Harry                 (Email: tmoore@aliotolaw.com)
Garavanian, and Gary             Jill T. Lin (284962)
Talewsky                          (Email: jill.tan.lin@gmail.com)
                                 Attorneys At Law
                                 One Sansome Street, 35th Floor
                                 San Francisco, CA 94104
                                 Telephone: (415) 434-8900
                                 Facsimile: (415) 434-9200
Notice of Appeal                      Page 7                        MDL 1917
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 8 of 9




Attorneys for the State of   Kamala D. Harris
California, et al.           Attorney General Of California

                             Mark Breckler
                             Chief Assistant Attorney General

                             Kathleen Foote
                             Senior Assistant Attorney General

                             Emilio Varanini
                              (Email: Emilio.Varanini@doj.ca.gov)
                             Deputy Attorney General
                             Office of the Attorney General for the State of
                             California
                             455 Golden Gate Avenue, Suite 11000
                             San Francisco, CA 94102-7004
                             Telephone: (415) 703-5908
                             Facsimile: (415) 703-5480



Dated: August 4, 2016              Respectfully submitted,

                                   /s/ Jan L. Westfall
                                   Jan L. Westfall
                                   Law Offices of Jan L. Westfall

                                   Counsel for Objector Donnie Clifton




Notice of Appeal                  Page 8                            MDL 1917
      Case 4:07-cv-05944-JST Document 4745 Filed 08/04/16 Page 9 of 9




                        CERTIFICATE OF SERVICE

The undersigned hereby certifies the foregoing Notice of Appeal and
Representation Statement, together with Exhibits, was filed via the Court’s
Electronic Case Filing (“ECF”) system, and that as a result electronic notice of
the filing was served upon the attorneys of record in this matter.


Dated this August 4, 2016.


                                       /s/ Jan L. Westfall
                                       Jan L. Westfall




Notice of Appeal                      Page 9                            MDL 1917
